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E. Clarke Balcom, #011952
balcom@clarkebalcomlaw.com
Joel D. Shapiro, #003814
jshapiro@clarkebalcomlaw.com
CLARKE BALCOM, P.C.
1312 SW 16th Ave, 2nd Floor
Portland, OR 97201-2516
Telephone (503) 224-5950
Fax (503) 467-4669
Attorney for Plaintiff



                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


LAWRENCE R. ALCORN,                               Case No. 3:17-CV-00500

                      Plaintiff,                  STIPULATED NOTICE OF DISMISSAL

       v.

RICK L. PERRY, LARRY J. JACKSON. SR.,
GROVER W. SPARKMAN, and FAIRFIELD
FINANCIAL SERVICES, INC.,

                      Defendants.


       Plaintiff seeks to voluntarily dismiss without prejudice this action against Defendants

Grover W. Sparkman and Fairfield Financial Services, Inc., and by stipulation of the parties,

hereby requests the Court enter an order for dismissal pursuant to Fed. R. Civ. P. 41(a)(2). The

Defendants’ stipulation hereto shall be without prejudice to the Defendants’ entitlement (if any)

to seek and/or recover Defendants’ reasonable attorney fees and/or costs under Fed. R. Civ. P. 54.

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Respectfully Submitted,

DATED:        November 7, 2017,


CLARKE BALCOM LAW                                 WARREN ALLEN, LLP

 s/ Joel D. Shapiro                               s/ Sia Rezvani
Joel D. Shapiro, OSB #003814                      Sia Rezvani, OSB No. #020892
Attorneys for Plaintiff                           Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

      The foregoing document was filed with the Clerk of the Court using the CM/ECF
systems which will serve notification to such filing to:

Siavash Rezvani, OSB #020892
Attorneys for Defendants

Carrie Majors-Staab, OSB #980785
Attorneys for Defendants

Shawna R. Meyer, OSB #011580
Attorneys for Defendant

Leonard D. DuBoff, OSB #774378
Attorneys for Defendant

E. Clarke Balcom, OSB #011952
Attorneys for Plaintiff

                                                        s/ Joel D. Shapiro
                                                       Attorneys for Plaintiff




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